Case 4:19-cv-07966-JST Document 34 Filed 07/02/20 Page 1of1

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No.

419-CV07966sk PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any) Thomas R Costa

 

was received by me on (date) 04/21/2020

© I personally served the summons on the individual at (place)

on (date) ; or

 

I left the summons at the individual’s residence or usual place of abode with (name)

 

Lorena Costa (wife) , a person of suitable age and discretion who resides there,
on (date) 05/05/2020 , and mailed a copy to the individual’s last known address; or
I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

on (date) 05/05/2020 > or
© I returned the summons unexecuted because ;or
O Other (specify):
My feesare$ 100.00 for travel and $ 0 for services, for a total of $ 0.00 :

I declare under penalty of perjury that this information is true.

Date: 05/19/2020 fue LAA

Server's signature

John L Hudak lic#1392295

Printed name and title

1204 ave u brooklyn ny 11229

Server's address

 

Additional information regarding attempted service, etc:
